16 F.3d 409NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Andre K. GOMES, Plaintiff Appellant,v.PORTSMOUTH POLICE DEPARTMENT;  D.S. Dempsey;  L.C. Saunders,Defendants Appellees.
    No. 93-7082.
    United States Court of Appeals, Fourth Circuit.
    Dec. 16, 1993.Jan. 14, 1994.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  Rebecca B. Smith, District Judge.  (CA-93-631-2)
      Andre K. Gomes, Appellant Pro Se.
      Before HALL and NIEMEYER, Circuit Judges, and SPROUSE, Senior Circuit Judge.
    
    PER CURIAM
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Gomes v. Portsmouth Police Dep't, No. CA-93-631-2 (E.D. Va.  Sept. 21, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    